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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYVLANIA

    ANTHONY CHUSS, Individually and on )
    Behalf of All Other Persons Similarly Situated, )
                                                    )
                          Plaintiffs,               )
                                                    )
                          v.                        ) Jury Trial Demanded
                                                    )
    REDNER’S MARKETS, INC., d/b/a                   )
    REDNER’S,                                       ) Civil Action No. 5:24-cv-04249-JMG
                                                    )
                          Defendant.                )

         JOINT MOTION TO RESCHEDULE INITIAL PRETRIAL CONFERENCE

          COME NOW the parties, Anthony Chuss 1 and Redner’s Markets, Inc., by and through

undersigned counsel, and respectfully request that the Court reschedule the initial pretrial

conference to a later date, showing the Court as follows:

             1. The Court’s Order [ECF 15] has set this case for an initial pretrial conference on

                 December 3, 2024.

             2. The parties engaged mediator Andrew Santillo, signed mediation-related

                 agreements, and scheduled a full day in-person mediation to be conducted in this

                 case for December 3, 2024.

             3. The parties respectfully request that the initial pretrial conference date be

                 rescheduled to a date approximately two weeks after the December 3 mediation

                 date, to allow the parties to update the Court after mediation conclusion on

                 whether the case was resolved.



1
 Pursuant to the Court’s Order [ECF 13] entered October 8, 2024, Defendant filed its Answer
[ECF 14] on October 25, 2024, and Plaintiff respectfully submits that the filing of Defendant’s
Answer and Plaintiff’s action in filing this joint motion constitutes full compliance with that
Order.
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Dated: October 28, 2024

 /s/ Sarah R. Schalman-Bergen                       /s/ Randall C. Schauer
 Sarah R. Schalman-Bergen                           Randall C. Schauer, Esquire
 (Pa. Bar No. 206211)                               Colin D. Dougherty, Esquire
 Krysten Connon                                     FOX ROTHSCHILD
 (Pa. Bar No. 314190)                               Eagleview Corporate Center
 LICHTEN & LISS-RIORDAN, P.C.                       747 Constitution Drive, Suite 100
 729 Boylston St., Suite 2000                       Exton, PA 19341-0673
 Boston, MA 02116                                   (610) 458-7500 (telephone)
 Tel: (617) 994-5800                                (610) 458-7337 (facsimile)
 ssb@llrlaw.com                                     rschauer@foxrothschild.com
 kconnon@llrlaw.com
                                                    Counsel for Redner’s Markets, Inc.
 C. Andrew Head (admitted pro hac vice)
 Bethany Hilbert (admitted pro hac vice)
 Head Law Firm, LLC
 4422 N. Ravenswood Ave.
 Chicago, IL 60640
 Tel: (404) 924-4151
 Fax: (404) 796-7338
 Email: ahead@headlawfirm.com
         bhilbert@headlawfirm.com


 Attorneys for Plaintiff, the Collective, and
 the Pennsylvania Class




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